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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
                                                                        :
DAVID ARCHER,                                                           :
                                                                        :       18 Civ. 9237 (PAE)
                                              Plaintiffs,               :
                                                                        :       ORDER TO SHOW
                            -v-                                         :           CAUSE
                                                                        :
MANHATTAN AND BRONX SURFACE TRANSIT                                     :
 OPERATING AUTHORITY, et at.,                                           :
                                                                        :
                                              Defendants.               :
                                                                        X
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PAUL A. ENGELMAYER, District Judge:

        Plaintiff filed the complaint in this action on October 9, 2018. Dkt. 1. Defendants filed

an answer on February 27, 2019. Dkt. 13. The case was then referred to mediation, which was

unsuccessful. See Dkt. 26. On August 30, 2019, plaintiff filed a letter with the Court advising

the Court that plaintiff was going to file a stipulation, upon defense counsel’s review, consenting

to a voluntary dismissal of the action, without prejudice. Dkt. 32. Such a stipulation was never

filed, and no further filings have been made in this case. On October 7, 2020, the Court ordered

a status update by October 14, 2020, as to the status of the stipulation described in plaintiff’s

letter. Dkt. 33. Counsel has not provided the requested status update.

        It is ORDERED that if the Court does not receive any written communication from

plaintiff by November 3, 2020, the Court will dismiss the claims against defendants without

prejudice.



                                                                      PaJA.�
        SO ORDERED.

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                                                                       Paul A. Engelmayer
                                                                       United States District Judge

Dated: October 20, 2020
